

Simo v City of New York (2022 NY Slip Op 03185)





Simo v City of New York


2022 NY Slip Op 03185


Decided on May 12, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 12, 2022

Before: Gische, J.P., Scarpulla, Mendez, Shulman, Higgitt, JJ. 


Index No. 21604/19 Appeal No. 15938 Case No. 2021-03922 

[*1]Enrique Simo, Plaintiff-Respondent,
vCity of New York et al., Defendants-Appellants.


Sylvia O. Hinds-Radix, Corporation Counsel, New York (Diana Lawless of counsel), for appellants.
Burns &amp; Harris, New York (Daniel Wright of counsel), for respondent.



Order, Supreme Court, Bronx County (Mitchell J. Danziger, J.), entered June 17, 2021, which denied defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
Defendants failed to establish their prima facie entitlement to summary judgment in this action where plaintiff slipped and fell on a set of concrete steps in a New York City park. The record presents issues of fact as to whether the allegedly hazardous condition was open and obvious and not inherently dangerous (see Schwartz v Kings Third Ave. Pharmacy, Inc., 116 AD3d 474, 475 [1st Dept 2014]; Westbrook v WR Activities-Cabrera Mkts., 5 AD3d 69, 70 [1st Dept 2004]). Defendants also did not demonstrate that they lacked actual or constructive notice of the condition, as they failed to proffer specific evidence as to when the staircase was last inspected. Rather, defendants relied only on vague testimony by a park supervisor that he would sometimes walk on the staircase during his inspection of the park (see Abraham v Dutch Broadway Assoc. L.L.C., 192 AD3d 550, 550 [1st Dept 2021]; Guo Ping Li v Overseas Partnership Co., Inc., 176 AD3d 608, 609 [1st Dept 2019]).
We have considered defendants' remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 12, 2022








